Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 1 of 6         PageID #: 6020




                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

 DIANA WILKE, as representative of        )
 ANDREAS VON HIRSCH,                      )
                                          )
                    Plaintiff/            )
                    Counter-Defendant,    )
                                          )
 v.                                       ) Docket No. 2:21-cv-00107-NT
                                          )
 ANGELYN A. OLSON,                        )
                                          )
                    Defendant/            )
                    Counter-Plaintiff.    )


                ORDER ON MOTION IN LIMINE REGARDING
                  CAMDEN NATIONAL BANK RECORDS

       The Plaintiff/Counter-Defendant, Diana Wilke, moves to authenticate and

admit bank records (the “Camden Bank Records”) from four Camden National

Bank accounts retained by Andreas von Hirsch that Defendant/Counter-Plaintiff,

Angelyn Olson, had access to. Pl.’s Mot. in Lim. Regarding Camden National Bank

Account Statements and Test. by Bank Representative (“Camden Bank Records

Mot.”) 1 (ECF No. 223). Wilke asserts that the Camden Bank Records are admissible

pursuant to Rule 803(6) of the Federal Rules of Evidence, the business-records

exception to the rule against hearsay. See Camden Bank Records Mot. 1.

       Fed. R. Evid. 803(6) permits the admission of “records of a regularly conducted

activity” if:

       (A) the record was made at or near the time by—or from information
           transmitted by—someone with knowledge;
Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 2 of 6                       PageID #: 6021




      (B) the record was kept in the course of a regularly conducted activity of
          a business, organization, occupation, or calling, whether or not for
          profit;
      (C) making the record was a regular practice of that activity;
      (D) all these conditions are shown by the testimony of the custodian or
          another qualified witness, or by a certification that complies with
          Rule 902(11)[1] . . . or with a statute permitting certification; and
      (E) the opponent does not show that the source of information or the
          method or circumstances of preparation indicate a lack of
          trustworthiness.

Fed. R. Evid. 803(6).

      “[I]f the proponent has established the stated requirements of the exception—

regular business with regularly kept record, source with personal knowledge, record

made timely, and foundation testimony or certification—then the burden is on the

opponent to show that the source of information or the method or circumstances of

preparation indicate a lack of trustworthiness.” Fed. R. Evid. 803(6) advisory

committee’s note to 2014 amendments. Thus, Wilke, as the proponent, bears the

burden of establishing the requirements of the exception, while Olson, as the

opponent, bears the burden of showing a lack of trustworthiness.

      Here, Wilke argues that the conditions of admissibility of the Camden Bank

Records are shown by a certification pursuant to Fed. R. Evid. 803(6)(D). Specifically,

Wilke submits an affidavit of a Camden National Bank employee, Suzanne Cifaldo,

attesting that the Camden Bank Records are authentic, “maintained in the ordinary

and regular course of Camden National Bank’s business[,] and are created at or near

the time the transactions reflected on the statements are recorded.” Cifaldo Aff. ¶¶ 4–




1     Fed. R. Evid. 902(11) provides for “certification of the custodian or another qualified person.”



                                                 2
Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 3 of 6            PageID #: 6022




5 (ECF No. 223-1). The affidavit purports to have attached to it an index to the bank

records and copies of the bank statements, Cifaldo Aff. ¶ 4, but Wilke has omitted the

copies of the Camden Bank Records in making this motion because “[t]he entire set

of attached account statements are over 850 pages long.” Camden Bank Records Mot.

1 n.1.

         Olson responds that the Camden Bank Records are untrustworthy. First,

Olson argues that there is a “chain of custody” issue, in that the Camden Bank

Records certified by Ms. Cifaldo were not taken directly from the bank’s records in

order to be certified; rather, they were, at least in part, first obtained by Wilke, then

provided to Wilke’s counsel, and then turned over to the bank for certification. See

Def./Counter-Pl.’s Resp. to Pl.’s Mot. in Lim. Regarding Camden National Bank

Account Statements and Test. by Bank Representative (“Resp. to Camden Bank

Records Mot.”) ¶ 13 (ECF No. 236); Pl.’s Reply in Supp. of Mot. in Lim. Regarding

Camden National Bank Account Statements and Test. by Bank Representative

(“Reply to Camden Bank Records Mot.”) 2 (ECF No. 241). Second, Olson asserts

that there are several “irregularities” in the Camden Bank Records. At a hearing

today, Olson’s counsel provided several examples of these alleged irregularities,

including that some of the documents contain highlighting by Wilke’s counsel, that

Wilke’s counsel redacted certain segments, and that the photocopies of checks

included in the documents have inconsistencies in layout, which Olson’s counsel

suggested could be the result of digital manipulation. See Ct. Ex. List from Trial

Management Conference and Hr’g on Mots. in Lim. Held on 6/2/23 (ECF No. 263).




                                           3
Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 4 of 6           PageID #: 6023




      In light of these arguments, I first consider whether Wilke has met her burden

to satisfy Rule 803(6)’s requirements, and I find that she has not. Specifically, as I

stated at today’s hearing, Ms. Cifaldo’s affidavit does not attest to the fact that the

Camden Bank Records were made by “someone with knowledge,” a requirement

under Rule 803(6)(A). Nor does the affidavit attest to the fact that “making the

record[s] was a regular practice” of the bank’s regularly conducted business activity,

as is required under Rule 803(6)(C).

      Next, I find that Olson has satisfied her burden to raise an issue of

trustworthiness. The certification process here was a bit circuitous. The bank initially

provided the documents to Wilke and her counsel, and then Wilke’s counsel returned

the records to the bank to allow Ms. Cifaldo to certify them. And the copies of the

records provided to the bank for certification contained highlighting and redactions

that were added by Wilke’s counsel. Wilke seeks to downplay the significance of the

alleged irregularities raised by Olson and argues that the “redactions were applied to

von Hirsch’s bank account numbers pursuant to Fed. R. Civ. P. 5.2,” Reply to Camden

Bank Records Mot. 3, which requires that, “[u]nless the court orders otherwise, . . . a

party or nonparty making [a] filing may include only . . . the last four digits of the

financial-account number.” Fed. R. Civ. P. 5.2. But the examples of the documents

available to me suggest that more information than just account numbers were

redacted, including at least one “transaction activity” description and corresponding

withdrawal amount. Because of the unusual process followed—the fact that the




                                           4
Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 5 of 6                       PageID #: 6024




documents were not produced directly by the bank—there was an opportunity for

manipulation of the documents.

       Although Ms. Cifaldo avers that the documents are “copies of authentic and

accurate bank statements,” the fairest course here would be to allow the Defendant

an opportunity to inquire into whether Ms. Cifaldo reviewed each of the 850

documents, how she accounted for the redactions and added highlighting, and

whether she can confirm or deny the manipulation theory. Alternatively, the Plaintiff

could seek to have the bank produce the records again without redaction. 2 If

reproduced with a proper certification of authenticity, this would effectively allay

Olson’s concerns about chain of custody, highlighting, and redaction, and it would

also allow her an opportunity to test her manipulation theory.

       In sum, Wilke, as the proponent of the documents, has failed to meet her

burden under Rule 803(6)(A) and (C). And, even putting aside that issue, Olson, as

the opponent of the evidence, has raised questions about the trustworthiness of the

documents under Rule 803(6)(E). As such, Wilke’s motion to admit the Camden Bank

Documents is denied without prejudice to its being reasserted if the proper foundation

can be laid.




2       I understand the Defendant’s argument that it would take time away from trial preparation
to review a new production of 850 documents, but it appeared at today’s proceedings that the
Defendant has already identified at least a portion of the documents that seem problematic, and they
should be able to zero in on those documents once bank-produced copies are available to see whether
anything is awry. I expect that the new production will closely match the old production but for
redactions, highlighting, and, possibly, quality of reproduction, and I doubt that the comparison will
be that time-consuming. If the Plaintiff opts to have the bank reproduce the documents, they should
be produced by Monday, June 5, 2023, in order to give the maximum possible time for review.



                                                  5
Case 2:21-cv-00107-NT Document 265 Filed 06/02/23 Page 6 of 6      PageID #: 6025




                                    CONCLUSION

      For the reasons stated above, the Court DENIES the Plaintiff’s Motion in

Limine Regarding Camden National Bank Account Statements and Testimony by

Bank Representative (ECF No. 223).



SO ORDERED.

                                            /s/ Nancy Torresen
                                            United States District Judge

Dated this 2nd day of June, 2023.




                                        6
